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                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

    IN RE                                                 )
                                                          )
    ALEXANDER E. JONES                                    )     CASE NO. 22-33553
                                                          )
                   DEBTOR.                                )     (CHAPTER 11)
                                                          )
                                                          )     JUDGE CHRISTOPHER M. LOPEZ

     ELEVENTH MONTHLY FEE STATEMENT OF BLACKBRIAR ADVISORS FOR
    ALLOWANCE OF COMPENSATION FOR SERVICES RENDERED AS FINANCIAL
           ADVISOR, LLC TO THE DEBTOR FOR THE PERIOD FROM
                FEBRUARY 1, 2024 THROUGH MARCH 31, 2024

    Name of Applicant:         BlackBriar Advisors, LLC
    Applicant’s Role in Case:  Financial Advisor
    Date Order of Appointment January 20, 2023 (Dkt #112)
    Signed:
                                    Beginning of Period             End of Period
    Time Period Covered in     02/01/2024                    03/31/2024
    Statement:
                        Summary of Total Fees and Expenses Requested
    Total Fees Requested in this Statement:                   $85,420.001
                                                              (80% of $106,775.00)
    Total Reimbursable Expenses Requested in this Statement: $7,019.202
                   Summary of Fees for the Period Covered by this Statement
    Professional Fees in this Statement:                      $106,775.00
    Total Actual Professional Hours Covered by this 264.90
    Statement:
    Average Hourly Rate for Professionals:                    $403.07

               In accordance with the Order Granting Motion for Entry of an Order
               Establishing Procedures for Interim Compensation and Reimbursement
               of Expenses for Chapter 11 Professionals [Docket No. #106], each party
               receiving notice of the monthly fee statement will have 14 days after
               service of the monthly fee statement to object to the requested fees and
               expenses. Upon the expiration of such 14 day period, the Debtor is
               authorized to pay the Professional an amount of 80% of the fees and
               100% of the expenses requested in the applicable monthly fee
               statement.


1
 BlackBriar is holding $0.00 as a retainer in its Trust Account.
2
 The date listed for expenses contained in the attached does not necessarily reflect the date on which the expense was
actually incurred by Applicant.
ELEVENTH MONTHLY FEE STATEMENT OF BLACKBRIAR ADVISORS, LLC – Page 1
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       Pursuant to §§ 327, 330, 331 of title 11 of the United States Code (the “Bankruptcy Code”),

Rule 2016 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), Rule 2016-1

of the Bankruptcy Local Rules for the Southern District of Texas (the “Bankruptcy Local Rules”),

and the Order Granting Motion for Entry of an Order Establishing Procedures for Interim

Compensation and Reimbursement of Expenses for Retained Professionals (the “Interim

Compensation Order”) [Docket No. 106], BlackBriar Advisors, LLC (“BlackBriar”), as Financial

Advisor to the Debtor, hereby files its Eleventh Monthly Fee Statement of BlackBriar Advisors,

LLC for Allowance of Compensation for Services Rendered as Financial Advisor to the Debtor for

the Period from February 1, 2024 through March 31, 2024 (the “Monthly Fee Statement”).

                                   RELIEF REQUESTED

       1.     By this Monthly Fee Statement, and pursuant to the Interim Compensation Order,

BlackBriar seeks interim payment of $85,420.00 (80% of $106,775.00) as compensation for

professional services rendered to the Debtor during the period from February 1, 2024 through

March 31, 2024 (the “Fee Period”); and reimbursement of actual and necessary expenses in the

amount of $7,019.20, for a total amount of $92,439.20 to be paid upon expiration of the objection

deadline barring any objections, pursuant to the Interim Compensation Order.

       2.     In support of the Monthly Fee Statement, BlackBriar submits a Summary of

Expenses for the Fee Period, attached hereto as Exhibit A, a Summary of Fees by Category as

Financial Advisor for the Fee Period, attached as Exhibit B, and a Detailed Record of Fees as

Financial Advisor for the Fee Period, attached hereto as Exhibit C.

       3.     Pursuant to the Interim Compensation Order, any party objecting to the payment of

the compensation and reimbursement of expenses requested herein shall serve on the undersigned

counsel and the following Retained Professionals (as defined in the Interim Compensation Order),




ELEVENTH MONTHLY FEE STATEMENT OF BLACKBRIAR ADVISORS, LLC – Page 2
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and each of the other Notice Parties a written objection (the “Objection”) so that it is received on

or before the Objection Deadline:

               a.      Co-Counsel to Debtor, Jordan & Ortiz, P.C., 500 North Shoreline
                       Blvd., Suite 900, Corpus Christi, TX 78401 (Attn: Shelby Jordan,
                       sjordan@jhwclaw.com)

               b.      U.S. Trustee c/o Ha Minh Nguyen and Jayson Ruff, Office of the
                       United States Trustee 515 Rusk St, Ste 3516 Houston, TX 77002,
                       ha.nguyen@usdoj.gov, jayson.b.ruff@usdoj.gov

               c.      Counsel to the Official Committee of Unsecured Creditors, Akin
                       Gump Strauss Hauer & Feld LLP, One Bryant Park, New York, NY
                       10036 (Attn: David M. Zensky, Marty L. Brimmage, Jr., Sara L.
                       Brauner and Melanie A. Miller; dzensky@akingump.com,
                       mbrimmage@akingump.com,
                       sbrauner@akingump.com, melanie.miller@akingump.com

               d.      Counsel to Connecticut Plaintiffs, (a) Koskoff Koskoff & Bieder
                       PC, 350 Fairfield Avenue, Bridgeport, CT 06604 (Attn: Alinor
                       Sterling, ASterling@koskoff.com) and (b) Paul, Weiss, Rifkind,
                       Wharton & Garrison LLP, 1285 Avenue of the Americas, New
                       York, NY 10019 (Attn: Kyle J. Kimpler and Martin Salvucci,
                       kkimpler@paulweiss.com, msalvucci@paulweiss.com)

               e.      Counsel to Texas Plaintiffs, (a) Avi Moshenberg,
                       avi.moshenberg@Imbusinesslaw.com and (b) Chamberlain,
                       Hrdlicka, White, Williams & Aughtry, PC, 1200 Smith Street, Suite
                       1400, Houston, TX 77002 (Attn: Jarrod B. Martin,
                       Jarrod.Martin@chamberlainlaw.com)

               f.      Any other parties that the Court may designate.

In light of the nature of the relief requested herein, BlackBriar submits that no further or other

notice is required.

       4.      Although every effort has been made to include all fees and expenses incurred in

the Fee Period, some fees and expenses might not be included in this Monthly Fee Statement due

to delays caused by accounting and processing during the Fee Period. BlackBriar reserves the right

to make further application to this Court for allowance of such fees and expenses not included




ELEVENTH MONTHLY FEE STATEMENT OF BLACKBRIAR ADVISORS, LLC – Page 3
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herein. Subsequent Monthly Fee Statements will be filed in accordance with the Bankruptcy Code,

the Bankruptcy Rules, and the Interim Compensation Order.

       5.      Therefore, BlackBriar respectfully submits support for its fees in the amount of

$106,775.00 for reasonable, actual and necessary services rendered by it on behalf of the Debtor

during the Fee Period and $7,019.20 for reasonable, actual and necessary expenses incurred during

the Fee Period. BlackBriar further submits that, pursuant to the Interim Compensation Order, and

pending the expiration of the objection deadline, if no objections to the Fee Statement are received,

that the Debtor shall be authorized to immediately pay to BlackBriar the amount of $92,439.20

which is equal to the sum of 80% of BlackBriar’s fees and 100% of BlackBriar’s expenses incurred

during the Fee Period.

Houston, TX
Dated: May 7, 2024.

                                                      BLACKBRIAR ADVISORS, LLC

                                                      By: /s/ Robert Schleizer
                                                      Robert Schleizer
                                                      2626 Cole Ave., Suite 300
                                                      Dallas, TX 75201
                                                      Telephone: 214-599-8600
                                                      Email: bschleizer@blackbriaradvisors.com


                                                      FINANCIAL ADVISORS FOR DEBTOR
                                                      ALEXANDER E. JONES




ELEVENTH MONTHLY FEE STATEMENT OF BLACKBRIAR ADVISORS, LLC – Page 4
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                                CERTIFICATE OF SERVICE

I certify that on May 7th, 2024, a true and correct copy of the foregoing pleading was served upon
the parties listed on the attached service list via the Court’s ECF system and pursuant to Local
Rule 9003-1, via e mail or U.S. mail as follows:

               a.     Co-Counsel to Debtor, Jordan & Ortiz, P.C., 500 North Shoreline
                      Blvd., Suite 900, Corpus Christi, TX 78401 (Attn: Shelby Jordan,
                      sjordan@jhwclaw.com)

               b.     U.S. Trustee c/o Ha Minh Nguyen and Jayson Ruff, Office of the
                      United States Trustee 515 Rusk St, Ste 3516 Houston, TX 77002,
                      ha.nguyen@usdoj.gov, jayson.b.ruff@usdoj.gov

               c.     Counsel to the Official Committee of Unsecured Creditors, Akin
                      Gump Strauss Hauer & Feld LLP, One Bryant Park, New York, NY
                      10036 (Attn: David M. Zensky, Marty L. Brimmage, Jr., Sara L.
                      Brauner and Melanie A. Miller; dzensky@akingump.com,
                      mbrimmage@akingump.com,
                      sbrauner@akingump.com, melanie.miller@akingump.com

               d.     Counsel to Connecticut Plaintiffs, (a) Koskoff Koskoff & Bieder
                      PC, 350 Fairfield Avenue, Bridgeport, CT 06604 (Attn: Alinor
                      Sterling, ASterling@koskoff.com) and (b) Paul, Weiss, Rifkind,
                      Wharton & Garrison LLP, 1285 Avenue of the Americas, New
                      York, NY 10019 (Attn: Kyle J. Kimpler and Martin Salvucci,
                      kkimpler@paulweiss.com, msalvucci@paulweiss.com)

               e.     Counsel to Texas Plaintiffs, (a) Avi Moshenberg,
                      avi.moshenberg@Imbusinesslaw.com and (b) Chamberlain,
                      Hrdlicka, White, Williams & Aughtry, PC, 1200 Smith Street, Suite
                      1400, Houston, TX 77002 (Attn: Jarrod B. Martin,
                      Jarrod.Martin@chamberlainlaw.com)

               f.     Any other parties that the Court may designate.


                                             /s/ Christina W. Stephenson
                                                 Christina W. Stephenson




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                                  EXHIBIT “A”
                 SUMMARY OF EXPENSES FOR THE FEE PERIOD


                              EXPENSE                            TOTAL
Airfare/Train                                                    $3167.39
Mileage                                                             0.00
Meals                                                             111.75
Auto                                                              385.57
Hotel                                                            1,181.49
Other                                                              48.00
Personal Property Appraisal                                       625.00
Crypto Currency Research                                         1,500.00




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                                  EXHIBIT “B”
             SUMMARY OF FEES AND EXPENSES BY CATEGORY
                        FOR THE FEE PERIOD
           CATEGORIES                           PROFESSIONAL
                                                    TIME
           B110 Case Administration                  22.4
           B120 Asset Analysis and Recovery           0.0
           B130 Asset Disposition                    16.8
           B140 Relief from Stay/Adequate
           Protection                                  0.0
           B150 Meetings of & Communications
           with Creditors                              6.1
           B160 Fee/Employment Applications            4.4
           B170 Fee/Employment Objections              0.0
           B180 Avoidance Action Analysis              0.0
           B185 Assumption/Rejection of
           Executory Contracts                          0.0
           B190 Other Contested Matters                 0.0
           B195 Non-Working Travel                     23.0
           B210 Business Operations                   171.6
           B220 Employee Benefits/Pensions              0.0
           B230 Financing/Cash Collections              0.0
           B240 Tax Issues                              2.2
           B250 Real Estate                             0.0
           B260 Board of Directors Matters              0.0
           B310 Claims Administration and
           Objections                                  0.0
           B320 Plan and Disclosure Statement         18.4
           B410 General Bankruptcy
           Advice/Opinions                             0.0
           B420 Restructurings                         0.0
           TOTALS:                                   264.90




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                               EXHIBIT “C”

         DETAILED RECORD OF FEES FOR THE FEE PERIOD




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February 29, 2024

Alex E. Jones
c/o Shelby A. Jordan
Jordan & Ortiz, P.C.
6207 Bee Cave Road, Suite 120
Austin, TX 78746

                          Re:           Alexander E. Jones, Debtor In Possession                   Case No. 22‐33553

Billing Period:                         February 1 through February 29, 2024
Invoice No.                             AJ0201‐24
Professional Services
Rendered:
            Date           Professional                                               Description                                                 Hours    Amount      Task Code
         2/1/2024               BS      Follow up on storage unit content sale .2; Riley boat transfer documents .3; follow up on bitcoin .2;       0.70 $   350.00      B130
         2/1/2024               HK      Review AEJ forecast                                                                                        1.00      500.00      B210
         2/1/2024               KN      Discussions with D Jones; reconciliations                                                                  2.50     1,000.00     B210
         2/2/2024               BS      Call with appraiser re additional assets                                                                   0.20      100.00      B110
                                BS      Operation issues ‐ sales stats; accounts payable; cash management; financial statements                    1.20      600.00      B210
         2/2/2024
         2/2/2024               BS      Call with C. Stephenson; V. Driver ‐ plan issues and structure re coordination with FSS plan .9; revise    3.90     1,950.00     B320
         2/2/2024               HK      Updated FSS Sales Reconciliation as of 01.28.24                                                            1.60      800.00      B210
         2/2/2024               KN      Month end accounting; bank recon; accruals                                                                 3.00     1,200.00     B210
         2/5/2024               BS      Send appraiser information re additional assets                                                            0.30      150.00      B110
         2/5/2024               BS      car sale information ‐ Expedition; challenger proceeds to escrow                                           0.40      200.00      B130
         2/5/2024               BS      Operation issues ‐ financial statements; call with C. Geiser ‐ X account;                                  0.50      250.00      B210
         2/6/2024               BS      Amend revise schedules                                                                                     1.20      600.00      B110
         2/6/2024               BS      Non‐working travel                                                                                         3.00      750.00      B195
         2/6/2024               BS      On‐site ‐ operations issues; meetings with FSS personnel; A. Jones re operations; follow up game           5.50     1,375.00     B210
         2/6/2024               KN      Jan Accounting‐ bank recs; accruals                                                                        3.00     1,200.00     B210
         2/7/2024               BS      Non‐working travel                                                                                         3.00      750.00      B195
         2/7/2024               BS      On‐site ‐ operations issues; cash management; financial statements                                         3.00      750.00      B210
         2/7/2024               BS      IRS follow up; claim and refund                                                                            0.30       75.00      B240
         2/7/2024               BS      Call with H. May; P. Magill; C. Stephenson re plan issues; contract structures                             0.90      225.00      B320
         2/7/2024               KN      Review SOFA/Amendments/Accounting                                                                          2.00      800.00      B210
         2/8/2024               BS      Firearm sale ‐ arrange sale and pickup of guns                                                             0.50      250.00      B130
         2/8/2024               BS      sales discrepancy ‐ FSS; payroll; storage unit motion;                                                     1.10      550.00      B210
         2/8/2024               KN      Accounting/ Jan Bills/ review Public Storage bills                                                         2.00      800.00      B210
         2/9/2024               HK      Updated FSS Sales Reconciliation                                                                           0.80      400.00      B210
        2/12/2024               BS      Review schedule amendments                                                                                 0.40      200.00      B110
        2/12/2024               BS      IRS refund research; call with R. Kennerly; emails/follow up                                               0.30      150.00      B240
        2/12/2024               BS      Call with A. Jones and V. Driver; plan issues                                                              0.80      400.00      B320
        2/12/2024               BS      Call with Crowe Dunlevy ‐ expert topics and allocations                                                    1.40      700.00      B320
        2/12/2024               BS      Plan voting issues‐ calls/emails with attorneys                                                            0.30       150.00     B320
        2/12/2024               KN      Sales Reconciliation/Accounting                                                                            4.50     1,800.00     B210
        2/13/2024               BS      Call with Jones/FSS teams re plan issues; meeting with counsel re: plan modifications                      3.40     1,700.00     B210
        2/13/2024               HK      Call with UCC attorneys & financial advisors                                                               0.80       400.00     B150
        2/13/2024               HK      Meeting BlackBriar & attorneys Re: next steps                                                              2.80     1,400.00     B210
        2/14/2024               BS      Storage unit access; insurance‐ calls emails                                                               0.40       200.00     B130
        2/14/2024               BS      Call with UCC attorneys & financial advisors                                                               0.80       400.00     B150
        2/14/2024               KN      Review SOFA /Appraisals/ Accounting                                                                        3.00     1,200.00     B110
        2/15/2024               BS      Firearm sales ‐ calls/emails with Cargill; consignment agreement                                           0.70       350.00     B130
        2/15/2024               BS      AEJ information ‐ 2023 tax estimates; call R. Kennerly                                                     1.20       600.00     B210
        2/15/2024               BS      Information for financial statements                                                                       0.60       300.00     B210
        2/15/2024               BS      Call w P. Magill re operations issues                                                                      0.70       350.00     B210
        2/15/2024               BS      Call with R. Kennerly re: 2024 tax events                                                                  0.40       200.00     B240
        2/15/2024               BS      Accumulate information for expert report                                                                   2.50     1,250.00     B320
        2/15/2024               KN      Update accounting/Coinbase/ reconcile                                                                      3.00     1,200.00     B210
        2/16/2024               BS      Finalize fire arm sales agreement                                                                          0.30      150.00      B130
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                     Re:        Alexander E. Jones, Debtor In Possession                Case No. 22‐33553

Billing Period:                 February 1 through February 29, 2024
Invoice No.                     AJ0201‐24
         2/16/2024         BS   Professional fee reconciliation                                                                        1.50        750.00   B210
         2/16/2024         BS   Call with Crowe Dunlevy and D. Payne ‐ expert information                                              0.60        300.00   B320
         2/16/2024         HK   Updated FSS Sales Reconciliation                                                                       0.80        400.00   B210
         2/16/2024         KN   Update MOR                                                                                             2.50      1,000.00   B110
         2/17/2024         KN   Professional Fees/ reconcile with last month/ MOR                                                      2.50      1,000.00   B210
         2/18/2024         KN   Jan MOR, update Professional fees                                                                      3.00      1,200.00   B210
         2/19/2024         BS   Prepare agenda for FSS meeting: calls with counsel re: operation discussion w FSS                      0.80        400.00   B210
         2/19/2024         BS   Update information for expert report                                                                   0.50        250.00   B320
         2/19/2024         KN   Update MOR                                                                                             5.00      2,000.00   B110
         2/20/2024         BS   Finalize MOR                                                                                           1.80        900.00   B110
         2/20/2024         BS   On‐site‐ operations sales, cash management and accounting; meeting with A. Jones; FSS personnel        7.00      3,500.00   B210
                                re: X account, advertising programs; platinum inventory/sales
        2/20/2024          KN   Revised Jan accounting for changes in Professional Fees; update MOR                                    4.50      1,800.00   B210
        2/21/2024          BS   On‐site‐ operations ‐ meeting with FSS teams and counsel: meetings with A. Jones; update financial     6.10      3,050.00   B210
                                information
        2/22/2024          KN   Feb accounting; bills                                                                                  2.50      1,000.00   B210
        2/23/2024          BS   Follow up on game sales and platinum inventory with manufacturer                                       0.20        100.00   B210
        2/26/2024          BS   Storage access coordination;                                                                           0.20        100.00   B130
        2/26/2024          BS   UCC request follow up; emails/calls to obtain information                                              0.90        450.00   B150
        2/27/2024          BS   Fee billing ‐ January                                                                                  2.10      1,050.00   B160
        2/27/2024          BS   Non‐working travel                                                                                     3.00        750.00   B195
        2/28/2024          BS   Meeting with counsel; D. Jones & team re: PQPR                                                         2.00      1,000.00   B150
        2/28/2024          BS   Non‐working travel                                                                                     3.00        750.00   B195
        2/28/2024          BS   On‐site‐ operations ‐ meeting with FSS team and counsel: meetings with A. Jones; V. Driver;            5.50      2,750.00   B210
                                accounting and cash management
        2/28/2024          BS   23024 & 205 tax events and projections. Call with R. Kennerly                                          0.60        300.00   B210
        2/28/2024          KN   Unemployment filing; accounting; auto Kelly book values                                                3.00      1,200.00   B210
        2/29/2024          BS   Storage content sale issues; coordination                                                              0.60        300.00   B130
        2/29/2024          BS   Information for expert report; load Dropbox                                                            1.50        750.00   B320
        2/29/2024          BS   Information for expert report; load Dropbox                                                            1.50        750.00   B320
        2/29/2024          HK   Calls/conversations regarding Bee Cave Public Storage auction                                          1.10        550.00   B130
        2/29/2024          KN   Accounting, pay bills                                                                                  2.50      1,000.00   B210
                                                                                                                                     136.70   $ 58,075.00

                                             Total hours for Robert Schleizer (BS)                                                    79.30   $ 34,225.00
                                             Total hours for Harold Kessler (HK)                                                       8.90      4,450.00
                                             Total hours for Kathy Norderhaug (KN)                                                    48.50     19,400.00
                                                                                                                                     136.70   $ 58,075.00
                                 Other Expenses
                                 Personal Property Appraisal                                                                                       625.00
                                 Crypto Currency Research                                                                                        1,500.00

                                 Expenses
                                    From attached expense breakdown                                                                              1,608.26

                                             Total Invoice Amount                                                                             $ 61,808.26

                                BlackBriar Advisors LLC
                                2626 Cole Ave., Suite 300
                                Dallas, TX 75204
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Alex E. Jones
Billing Period:                 February 1 through February 29, 2024
Invoice:                        AJ0201‐24

   Date         Airfare/Train       Mileage           Meals            Auto         Hotel         Other          Total

    1‐Feb                 ‐                   ‐            ‐                ‐             ‐            ‐                ‐
    2‐Feb                 ‐                   ‐            ‐                ‐             ‐            ‐                ‐
    3‐Feb                 ‐                   ‐            ‐                ‐             ‐            ‐                ‐
    4‐Feb                 ‐                   ‐            ‐                ‐             ‐            ‐                ‐
    5‐Feb                 ‐                   ‐            ‐                ‐             ‐            ‐                ‐
    6‐Feb                 ‐                   ‐          30.00            41.60           ‐            ‐              71.60
    7‐Feb                 ‐                   ‐            ‐                ‐             ‐          21.00            21.00
    8‐Feb                 ‐                   ‐            ‐                ‐             ‐            ‐                ‐
    9‐Feb                 ‐                   ‐            ‐                ‐             ‐            ‐                ‐
   10‐Feb                 ‐                   ‐            ‐                ‐             ‐            ‐                ‐
   11‐Feb                 ‐                   ‐            ‐                ‐             ‐            ‐                ‐
   12‐Feb                 ‐                   ‐            ‐                ‐             ‐            ‐                ‐
   13‐Feb                 ‐                   ‐            ‐                ‐             ‐            ‐                ‐
   14‐Feb                 ‐                   ‐            ‐                ‐             ‐            ‐                ‐
   15‐Feb                 ‐                   ‐            ‐                ‐             ‐            ‐                ‐
   16‐Feb                 ‐                   ‐            ‐                ‐             ‐            ‐                ‐
   17‐Feb                 ‐                   ‐            ‐                ‐             ‐            ‐                ‐
   18‐Feb                 ‐                   ‐            ‐                ‐             ‐            ‐                ‐
   19‐Feb                 ‐                   ‐          55.00              ‐          386.10          ‐             441.10
   20‐Feb                 ‐                   ‐            ‐                ‐             ‐            ‐                ‐
   21‐Feb                 ‐                   ‐            ‐             115.77           ‐            ‐             115.77
   22‐Feb                 ‐                   ‐            ‐                ‐             ‐            ‐                ‐
   23‐Feb                 ‐                   ‐            ‐                ‐             ‐            ‐                ‐
   24‐Feb                 ‐                   ‐            ‐                ‐             ‐            ‐                ‐
   25‐Feb                 ‐                   ‐            ‐                ‐             ‐            ‐                ‐
   26‐Feb                 ‐                   ‐            ‐                ‐             ‐            ‐                ‐
   27‐Feb              664.19                 ‐            ‐              26.00           ‐            ‐             690.19
   28‐Feb                 ‐                   ‐            ‐              37.99        230.61          ‐             268.60
   29‐Feb                 ‐                   ‐            ‐                ‐             ‐            ‐                ‐
                          ‐                   ‐            ‐                ‐             ‐            ‐                ‐
                          ‐                   ‐            ‐                ‐             ‐            ‐                ‐
Total       $          664.19 $               ‐   $      85.00 $         221.36 $      616.71 $      21.00   $     1,608.26
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March 31, 2024

Alex E. Jones
c/o Shelby A. Jordan
Jordan & Ortiz, P.C.
6207 Bee Cave Road, Suite 120
Austin, TX 78746

                          Re:             Alexander E. Jones, Debtor In Possession                    Case No. 22‐33553

Billing Period:                           March 1 through March 31, 2024
Invoice No.                               AJ0301‐24
Professional Services
Rendered:
            Date           Professional                                                 Description                                     Hours     Amount      Task Code
         3/1/2024               BS        Banking ‐ wire transfers                                                                       0.80 $     400.00      B210
         3/1/2024               HK        Call with Bee Cave Public Storage                                                              0.20       100.00      B130
         3/1/2024               KN        Review SOFA revisions                                                                          2.00       800.00      B110
         3/1/2024               KN        Reconcile Storage Unit issues                                                                  1.50       600.00      B210
         3/2/2024               HK        Updated FSS Sales Reconciliation                                                               1.20       600.00      B210
         3/4/2024               BS        Documentation to Payne ‐ expert research                                                       1.30       650.00      B320
         3/4/2024               KN        Feb Accounting; accruals; bank account recon; sales entries                                    5.50      2,200.00     B210
         3/5/2024               BS        Documentation to Payne ‐ expert research                                                       1.40       700.00      B210
         3/6/2024               BS        Banking ‐ wire transfers                                                                       0.50       250.00      B210
         3/6/2024               KN        Update accounting; pay bills                                                                   3.00      1,200.00     B210
         3/7/2024               BS        Accounting ‐ supporting schedules                                                              0.50       250.00      B210
         3/7/2024               BS        Ranch offer; call with counsel re open issues on offer                                         0.90       450.00      B210
         3/8/2024               BS        Calls/emails with broker re offer; call surveyor                                               0.60       300.00      B210
         3/8/2024               BS        Calls with UCC/Crowe Dunlevy re open items on requests; plan issues                            1.70       850.00      B210
        3/10/2024               BS        Non‐working travel                                                                             3.00       750.00      B210
        3/10/2024               BS        Calls A. Jones ‐ re UCC meeting and response                                                   0.80       200.00      B210

        3/11/2024               BS        Non‐working travel                                                                             2.00       500.00      B195
        3/11/2024               BS        hearing & meetings                                                                             6.20      1,550.00     B210
        3/11/2024               BS        Storage unit access ‐ FSS unit                                                                 0.30        75.00      B210
        3/11/2024               BS        Title and survey research; emails; call with ranch broker re additional offers                 1.10       275.00      B210
        3/11/2024               HK        Updated FSS Sales Reconciliation                                                               0.80       400.00      B210
        3/11/2024               KN        Bank recs, Feb MOR, accruals, pay bills                                                        5.50      2,200.00     B210
        3/12/2024               BS        Ranch contract ‐ sellers invitation                                                            0.30       150.00      B130

        3/12/2024               BS        Meet with boat broker; inspect lake house re: sale preparation                                 1.80       900.00      B130
        3/12/2024               BS        Non‐working travel                                                                             3.00       750.00      B195
        3/12/2024               BS        On site ‐ Operations; cash management; calls with FSS ‐ P Magill; Mg Haselton and A. Jones;    3.50      1,750.00     B210
        3/12/2024               BS        Shulse                                                                                         1.50        750.00     B210
        3/12/2024               BS        Expert documentation for report                                                                1.50        750.00     B320
        3/12/2024               HK        Calls Re: update ‐ plan issues; SOFA updates                                                   0.40        200.00     B110
        3/12/2024               HK        Calls Re: storage units                                                                        0.50        250.00     B130
        3/12/2024               KN        Lakehouse issues, boat issue, update accounting                                                4.00      1,600.00     B210
        3/13/2024               BS        Ranch contract ‐ survey follow up; seller proof of funds                                       0.30        150.00     B130
        3/13/2024               BS        Operations‐ emails FSS trustee; Call A. Jones                                                  0.90        450.00     B210
        3/13/2024               BS        Tax refund analysis; discussion with K. Norderhaug ‐ accounting                                0.80        400.00     B210
        3/13/2024               BS        Tax estimate research                                                                          1.20        600.00     B240
        3/13/2024               BS        Expert documentation for report                                                                0.60        300.00     B320
        3/13/2024               HK        Calls & emails Re: storage units                                                               1.50        750.00     B130
        3/13/2024               KN        Income Tax refund allocation, storage issues, accounting, book sale reconciliation             2.50      1,000.00     B210
        3/14/2024               BS        Fee analysis ‐ Teneo                                                                           0.50        250.00     B150
        3/14/2024               BS        Review/revise fee app                                                                          2.30      1,150.00     B160
        3/14/2024               BS        Weekly call ‐ FSS                                                                              1.00        500.00     B210
        3/14/2024               HK        Calls & emails Re: storage units                                                               1.50        750.00     B130
        3/15/2024               BS        Operations follow up; call with P. Magill; emails                                              0.30        150.00     B210
        3/15/2024               HK        Calls & emails Re: storage units                                                               0.80        400.00     B130
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                     Re:        Alexander E. Jones, Debtor In Possession                   Case No. 22‐33553

Billing Period:                 March 1 through March 31, 2024
Invoice No.                     AJ0301‐24
         3/18/2024         BS   Call with V. Driver‐ asset sales ‐ real estate                                                           0.50        250.00   B130
         3/18/2024         BS   Emails with M. Haselden re PQPR information; follow up with D. Jones & A. Jones                          0.60        300.00   B210
         3/18/2024         BS   Update professional fees                                                                                 1.10        550.00   B210
         3/18/2024         BS   Call with V. Driver‐ plan issues and timing                                                              0.50        250.00   B320
         3/18/2024         HK   Updated FSS Sales Reconciliation                                                                         0.80        400.00   B210
                                Review Ranch property offer final docs and send to attorney; requests to broker for additional
        3/19/2024          BS   information                                                                                              0.60        300.00   B130
        3/19/2024          BS   Call with M. Haselden/L. Freeman re PQPR missing information                                             0.70        350.00   B150
        3/19/2024          BS   Call with V. Driver update on FSS discussion                                                             0.40        200.00   B150
        3/19/2024          KN   Update March accounting                                                                                  2.50      1,000.00   B210
        3/21/2024          BS   Finalize and file MOR                                                                                    0.80        200.00   B110
        3/21/2024          BS   Non‐working travel                                                                                       3.00        750.00   B195
        3/21/2024          BS   On‐site ‐ FSS operations; cash management; sales analysis                                                7.00      1,750.00   B210
        3/22/2024          BS   Review draft second amended plan; email to counsel                                                       0.90        450.00   B210
        3/22/2024          BS   Meet with counsel re update SOFA and schedules                                                           2.30      1,150.00   B210
        3/22/2024          BS   Review plan changes and revise                                                                           0.60        300.00   B320
        3/22/2024          HK   Calls & emails Re: storage units                                                                         1.50        750.00   B130
        3/22/2024          HK   Meeting BlackBriar & Attorney's update & Plan                                                            4.00      2,000.00   B210
        3/22/2024          KN   SOFA review                                                                                              3.00      1,200.00   B110
        3/23/2024          BS   Property disclosure ranch                                                                                0.50        250.00   B130
        3/23/2024          KN   2022 charges for Condos                                                                                  1.50        600.00   B110
        3/24/2024          HK   Calls & emails Re: storage units                                                                         0.60        300.00   B210
        3/25/2024          BS   Review flood plain re ranch property disclosure                                                          0.20        100.00   B130
        3/25/2024          HK   Calls & emails Re: storage units                                                                         0.50        250.00   B130
        3/26/2024          BS   Non‐working travel                                                                                       3.00        750.00   B195
        3/26/2024          BS   On‐site ‐ FSS operations; cash management; meeting with FSS staff; meeting with A. Jones                 7.00      1,750.00   B210
        3/26/2024          HK   Calls & emails Re: storage units                                                                         0.40        200.00   B130
        3/27/2024          BS   Update condo payments re SOFA                                                                            0.30         75.00   B110
        3/27/2024          BS   Review seller invitation for best offer; send to broker; review and sign revised offer with A. Jones     0.80        200.00   B130
        3/27/2024          BS   On‐site ‐ FSS operations; cash management; meeting with FSS staff; meeting with A. Jones                 6.00      1,500.00   B210
        3/27/2024          HK   Property protests 2024                                                                                   0.20        100.00   B210
        3/28/2024          BS   Weekly call ‐ FSS                                                                                        1.10        275.00   B210
        3/28/2024          BS   Non‐working travel                                                                                       3.00        750.00   B210
        3/29/2024          BS   Calls ‐ counsel; case update; planning ‐ open issues                                                     0.80        200.00   B210
                                                                                                                                       128.20   $ 48,700.00

                                              Total hours for Robert Schleizer (BS)                                                     82.30   $ 28,850.00
                                              Total hours for Harold Kessler (HK)                                                       14.90      7,450.00
                                              Total hours for Kathy Norderhaug (KN)                                                     31.00     12,400.00
                                                                                                                                       128.20   $ 48,700.00
                                 Other Expenses




                                 Expenses
                                    From attached expense breakdown                                                                                3,285.94

                                              Total Invoice Amount                                                                              $ 51,985.94

                                BlackBriar Advisors LLC
                                2626 Cole Ave., Suite 300
                                Dallas, TX 75204
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Alex E. Jones
Billing Period:               March 1 through March 31, 2024
Invoice:                      AJ0301‐24

   Date       Airfare/Train      Mileage           Meals        Auto         Hotel         Other          Total

    1‐Mar                ‐                 ‐            ‐            ‐             ‐            ‐                ‐
    2‐Mar                ‐                 ‐            ‐            ‐             ‐            ‐                ‐
    3‐Mar                ‐                 ‐            ‐            ‐             ‐            ‐                ‐
    4‐Mar                ‐                 ‐            ‐            ‐             ‐            ‐                ‐
    5‐Mar                ‐                 ‐            ‐            ‐             ‐            ‐                ‐
    6‐Mar                ‐                 ‐            ‐            ‐             ‐            ‐                ‐
    7‐Mar                ‐                 ‐            ‐            ‐             ‐            ‐                ‐
    8‐Mar                ‐                 ‐            ‐            ‐             ‐            ‐                ‐
    9‐Mar                ‐                 ‐            ‐            ‐             ‐            ‐                ‐
   10‐Mar             974.20               ‐            ‐            ‐             ‐            ‐             974.20
   11‐Mar                ‐                 ‐            ‐          45.00        159.96          ‐             204.96
   12‐Mar                ‐                 ‐          26.75        90.21        221.13          ‐             338.09
   13‐Mar                ‐                 ‐            ‐            ‐             ‐            ‐                ‐
   14‐Mar                ‐                 ‐            ‐            ‐             ‐            ‐                ‐
   15‐Mar                ‐                 ‐            ‐            ‐             ‐            ‐                ‐
   16‐Mar                ‐                 ‐            ‐            ‐             ‐            ‐                ‐
   17‐Mar                ‐                 ‐            ‐            ‐             ‐            ‐                ‐
   18‐Mar                ‐                 ‐            ‐            ‐             ‐            ‐                ‐
   19‐Mar                ‐                 ‐            ‐            ‐             ‐            ‐                ‐
   20‐Mar                ‐                 ‐            ‐            ‐             ‐            ‐                ‐
   21‐Mar             460.20               ‐            ‐            ‐             ‐            ‐             460.20
   22‐Mar                ‐                 ‐            ‐            ‐             ‐            ‐                ‐
   23‐Mar                ‐                 ‐            ‐            ‐             ‐            ‐                ‐
   24‐Mar                ‐                 ‐            ‐            ‐             ‐            ‐                ‐
   25‐Mar                ‐                 ‐            ‐            ‐             ‐            ‐                ‐
   26‐Mar             395.60               ‐            ‐            ‐             ‐            ‐             395.60
   27‐Mar             673.20               ‐            ‐          29.00        183.69        27.00           912.89
   28‐Mar                ‐                 ‐            ‐            ‐             ‐            ‐                ‐
   29‐Mar                ‐                 ‐            ‐            ‐             ‐            ‐                ‐
   30‐Mar                ‐                 ‐            ‐            ‐             ‐            ‐                ‐
   31‐Mar                ‐                 ‐            ‐            ‐             ‐            ‐                ‐
Total     $         2,503.20 $             ‐   $      26.75 $     164.21 $      564.78 $      27.00   $     3,285.94
